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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Hon. Guy Reschenthaler, et al.,

                Plaintiffs,
                                               Civil Action No. 1:24-cv-1671-CCC
      v.
                                               Hon. Christopher C. Conner
Secretary Al Schmidt, et al.,

                Defendants.

     MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE
   NONPARTISAN ORGANIZATIONS AND IMPACTED OVERSEAS
 VOTERS IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS AND
   IN OPPOSITION TO PLAINTIFFS’ MOTION FOR TEMPORARY
      RESTRAINING ORDER OR PRELIMINARY INJUNCTION

      U.S. Vote Foundation, American Citizens Abroad, Association of

Americans Resident Overseas, Blue Star Families, Federation of American

Women’s Clubs Overseas, Maria H. Craig, Thomas Lipton, Ellen Lebelle, Ann

Madden, Kristi Carroll-Lorin, Reverand Daniel Morrow, and Teresa Morrow

(collectively, “Amici”) hereby move for leave to file a brief as amici curiae in

support of Defendants’ Motion to Dismiss the Amended Complaint and in

opposition to Plaintiffs’ Motion for a Temporary Restraining Order or Preliminary

Injunction.

      Amici are nonprofit, nonpartisan organizations that represent the interests of

military and overseas voters, irrespective of their party affiliation, along with

individuals who live overseas and are registered to vote in Pennsylvania. Amici
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have a strong interest in the outcome of this litigation, which jeopardizes the

already-imperiled franchise of American citizens living abroad, including

uniformed service members stationed away from their homes while serving our

country and everyday citizens living, working, studying, and traveling abroad.

Amici’s proposed brief is attached hereto as Exhibit A.

      A district court has broad discretion to permit amici curiae to participate in a

pending action. Wayne Land & Mineral Grp. v. Del. River Basin Comm’n, 2016

WL 7256945, at *1 (M.D. Pa. Dec. 15, 2016); Waste Mgmt. of Pa., Inc. v. City of

York, 162 F.R.D. 34, 36 (M.D. Pa. 1995). Here, Amici seek to represent the

interests of millions of military and overseas American citizens—including tens of

thousands of Pennsylvania voters—who intend to or have already cast ballots

subject to the protections of the Uniformed and Overseas Citizens Absentee Voting

Act (UOCAVA), which Plaintiffs now challenge.

      Amici are deeply concerned that a ruling in Plaintiffs’ favor will impose

unnecessary barriers to voting and disenfranchise military and other overseas

voters, in direct contravention of longstanding federal public policy dating back to

the 1940s. Amici further seek to highlight how Plaintiffs—under the pretense of

enforcing a nonexistent verification requirement to combat an illusory problem of

overseas-ballot fraud—seek to exploit military and overseas voters as pawns in a

coordinated political effort to sow doubt, chaos, and confusion ahead of the 2024



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General Election. Amici respectfully submit that military and overseas voters

deserve a voice in a litigation that threatens their fundamental right to participate in

the electoral process.

      For these reasons, Amici request that this Court grant their Motion for Leave

to File Brief of Amici Curiae.




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October 18, 2024                         Respectfully submitted,


                                         By:        /s/ Timothy E. Gates
                                                      Timothy E. Gates


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                                   CERTIFICATES

      I, Timothy E. Gates, hereby certify that a copy of this motion has been

served on all counsel of record using the Court’s CM/ECF system.

      Pursuant to Local Rule 7.1, I further certify that counsel for Defendants and

Intervenor-Defendants consent to the foregoing Motion for Leave to File Brief of

Amici Curiae. Counsel for Plaintiffs were also advised of the foregoing Motion

but have not stated their position as of this filing.



October 18, 2024                             By:        /s/ Timothy E. Gates
                                                         Timothy E. Gates




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